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7                                        UNITED STATES DISTRICT COURT
8                                       EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                           ) CASE NO. 2:08-CR-00427-mce-7
                                                         )
11                         Plaintiff,                    )
                                                         ) ORDER FOR CONTACT VISIT AT THE
12                         vs.                           ) SACRAMENTO COUNTY JAIL BETWEEN
                                                         ) AMANDA GREGORY, PH.D, CLINICAL
13   RAMANATHAN PRAKASH,                                 )
                                                         ) NEUROPSYCHOLOGIST AND
14                         Defendant.                    ) DEFENDANT, DR. RAMANATHAN
                                                         ) PRAKASH
15                                                       )
16                         Having reviewed the Unopposed Motion for Contact Visit at
17   the Sacramento County Jail between Amanda Gregory, Ph.D.,
18   Clinical Neuropsychologist and Defendant, Dr. Ramanathan Prakash,
19   IT IS HEREBY ORDERED that the Sacramento County Jail shall permit
20   a contact visit between Dr. Amanda Gregory, Ph.D., and Defendant
21   for the purposes of a neuropsychological examination.
22
     Dated:                   November 22, 2011
23
                                                    __________________________________
24                                                  MORRISON C. ENGLAND, JR
                                                    UNITED STATES DISTRICT JUDGE
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27   DEAC_Signature-END:




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